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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

PAMELA S. SMALL,

                        Plaintiff,
                                                                           DECISION AND ORDER
        v.                                                                     12-CV-1236S


NEW YORK STATE DEPARTMENT OF
CORRECTIONS AND COMMUNITY SUPERVISION,
CARL CUER, JAMES CONWAY, and SANDRA DOLCE,

                        Defendants.


                                         I. INTRODUCTION

        After a 12-day trial, a federal jury determined that Defendants subjected Plaintiff

Pamela S. Small to discrimination and a hostile work environment and unlawfully

retaliated against her while she was employed as a civilian teacher at the Attica

Correctional Facility (“Attica”).         The jury awarded Small $4.8 million in general

compensatory damages; $740,000 in back pay; $3.6 million in front pay; and $50,000 in

punitive damages; for a total award of $9.19 million.1

        Presently before this Court are several post-trial motions. First, Defendants New

York State Department of Corrections and Community Supervision (“DOCCS”), James

Conway, and Sandra Dolce move for judgment as a matter of law under Rule 50 (b) of

the Federal Rules of Civil Procedure, or for a new trial under Rule 59 (a), and for alteration

or amendment of the verdict under Rule 59 (e) or for relief from judgment under Rule 60.



1Of this amount, $2,170,000 was technically an advisory verdict that this Court adopted post-trial. (See
Docket No. 199.)
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(Docket No. 206.) Second, Defendant Carl Cuer moves for a new trial or remittitur under

Rule 59 (a) and for alteration or amendment of the verdict under Rule 59 (e). (Docket No.

204.) Finally, Small moves for attorneys’ fees, interest, and costs. (Docket No. 202.)

        For the reasons stated below, each of the motions is granted in part and denied in

part.

                                     II. BACKGROUND

        Despite challenging the sufficiency of the evidence in seeking to overturn the jury’s

verdict, Defendants have inexplicably neither obtained nor submitted the trial transcript in

support of their post-trial motions. Cf. Norton v. Sam’s Club, 145 F.3d 114, 118 (2d Cir.

1998) (“A party seeking to overturn a verdict based on the sufficiency of the evidence

bears a very heavy burden.”).       The absence of trial transcripts precludes a factual

recitation drawn directly from the trial evidence. Consequently, to provide background

and context for the post-trial motions, this Court draws from those undisputed facts set

forth in its summary judgment decision that were proven at trial. See Small v. New York,

12-CV-1236S, 2017 WL 1176032 (W.D.N.Y. Mar. 30, 2017). The trial evidence, of

course, was much more complete, but the recitation herein suffices to resolve the pending

motions.

        Small worked as a teacher at Attica from 2005 to 2012. She was a civilian

employee and reported directly to her academic supervisors, who in turn reported to

Defendant Dolce, who was the Deputy Superintendent of Program Services and oversaw

the academic, recreational, and vocational programs at Attica.           Dolce reported to




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Defendant Conway, who was the Superintendent of Attica and responsible for oversight

of the entire prison.

       Defendant Cuer is a corrections officer at Attica. Between 2005 and 2010, Cuer

and Small both worked in Attica’s academic building, a three-story structure with two

corrections officers posted on the first floor, and one officer posted on each of the second

and third floors. Cuer served as the first-floor officer in the academic building, a position

known as the “Hall Captain.” The Hall Captain is responsible for ensuring the safety of

the civilian academic employees (like Small) working in the academic building.

       While Defendant Cuer was serving as Hall Captain, he and Small became friends.

They discussed their shared Christian faith; Cuer worked on Small’s car and assisted her

with yardwork at her home. But beginning in December 2009, Cuer began making

alarming comments to Small. Cuer told Small that he had been speaking with God, that

God had informed him that his wife would soon die, and that God had chosen Small to be

his new wife. Cuer also began sending Small frequent emails, text messages, and letters,

insisting that God wanted them to be together. Small felt threatened and upset by Cuer’s

communications, particularly because Cuer was adamant that Small was breaching her

Christian faith by refusing to be with him.

       Defendant Cuer delivered some of his messages to Small at Attica, including by

writing “I love you” on the desk calendar in Small’s classroom and leaving her a note

offering to apply lotion to her “hard to reach spots,” which Small took to be a sexual

advance. Cuer told a co-worker about his plans to marry Small, as well as his belief that

God would kill his wife. Other officers overheard Cuer discussing plans to buy a gun,

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specifically one that could be easily concealed.

      Small never reciprocated Defendant Cuer’s romantic advances. She initially tried

to discourage Cuer while remaining friendly with him, but Cuer’s behavior became

increasingly intense and threatening. In March 2010, Small wrote Cuer a letter directing

him to cease all contact and communication with her. She also verbally complained to

Defendant Conway that Cuer was harassing her and wrote to Cuer’s supervisor, Sergeant

Erhardt. Small also reported Cuer’s advances to her direct supervisor, who reported the

issue to Defendant Dolce.

      Despite these reports, the contact did not stop. Instead, Defendant Cuer continued

to engage with Small in ways that she found harassing and threatening. For example, in

June 2010, Small found a note on her car in the Attica parking lot that included a drawing

of eyes, which Small interpreted as a message that Cuer was watching her, as well as a

drawing that meant “I love you.”

      Two months later, Defendant Cuer sent Small a number of text messages in the

early morning hours that Small believed he sent while sitting outside her house. Cuer

accused Small of having a man inside her home and demanded that she come out to

speak with him.

      Several months after that, in October 2010, Defendant Cuer told Small in an email

that God told him that Small was pregnant but did not know who the father was, and that

God referred to Small by the name of a woman in the Bible who was struck down after

failing to obey God.

      The next month, Small sought and obtained an order of protection against

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Defendant Cuer. While the order of protection was in place, Attica officials allowed Cuer

to come and go from the prison with no restrictions but told Small to restrict her movement,

use side doors, and have supervision when moving about the facility. Cuer was later

arrested for violating the order of protection.

       Throughout this period, Small and her direct supervisors made several verbal

reports to Defendants Conway and Dolce. Between March and August 2010, Small and

others lodged verbal complaints, but neither Conway nor Dolce took any meaningful

action to investigate or remedy the situation or forward Small’s complaints for a formal

inquiry. This lack of response was exactly what Small was afraid of, since she knew that

Defendant Cuer had personal relationships with many Attica employees, including

Conway. Conway and Dolce failed to act on Small’s complaints until they forwarded them

to DOCCS’s Office of Diversity Management in August 2010, after which no further action

was taken. Small was never contacted about her complaints, and Cuer was never

disciplined in any way.

       Small’s complaints about Defendant Cuer resulted in the very retaliation that she

feared. In June 2010, Defendant Dolce changed Small’s classroom assignment from a

classroom on the third floor of the academic building, which was off-limits to all personnel

at night and on weekends, to the second floor, which was not so restricted and therefore

subject to significant property damage. She also instructed Small to limit her movement

around the facility and to seek escorts. In addition, Cuer and other corrections officers

failed to deliver important documents to Small’s staff mailbox and shunned her, and Cuer

falsely accused Small in an official complaint of having an inappropriate relationship with

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an inmate, which DOCCS investigators later found to be without merit. All of this occurred

after Small complained about Cuer.

       The intolerable conditions at Attica deteriorated Small’s health to the point where

she could no longer work due to physical and psychological impairments. After Small

exhausted her sick leave, DOCCS terminated her employment. Her last day was January

29, 2011.

                                    III. DISCUSSION

       Four claims went to trial.    First, Small alleged that DOCCS subjected her to

discrimination and a hostile work environment in violation of Title VII of the Civil Rights

Act of 1964, 42 U.S.C. §§ 2000e et seq. Second, Small alleged that DOCCS retaliated

against her in violation of Title VII. Third, Small alleged that Defendants Cuer, Dolce, and

Conway deprived her of her federally protected right to be free from a hostile work

environment under 42 U.S.C. § 1983. Fourth, Small alleged that Cuer aided and abetted

unlawful discrimination and hostile work environment in violation of New York Rights Law

§ 296 (6).

       The jury returned a verdict in Small’s favor on each claim. For the first and second

claims, the jury awarded $2.4 million in compensatory damages, and this Court accepted

the jury’s advisory verdict in awarding $370,000 in back pay and $1.8 million in front pay,

for a total award against DOCCS of $4.57 million. (Docket Nos. 197, 199, 200.) For the

third claim, the jury awarded $1 million in compensatory damages and $50,000 in punitive

damages against Defendant Cuer; $480,000 in compensatory damages against

Defendant Dolce; and $240,000 in compensatory damages against Defendant Conway.

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(Docket Nos. 197, 200.) For the fourth claim, the jury awarded $680,000 in compensatory

damages, $370,000 in back pay, and $1.8 million in front pay. (Docket Nos. 197, 200.)

       Defendants DOCCS, Conway, and Dolce now move for judgment as a matter of

law under Rule 50 (b) of the Federal Rules of Civil Procedure or, for a new trial under

Rule 59 (a), and for alteration or amendment of the verdict under Rule 59 (e) or for relief

from judgment under Rule 60. (Docket No. 206.) Defendant Cuer moves for a new trial

or remittitur under Rule 59 (a) and for alteration or amendment of the verdict under Rule

59 (e). (Docket No. 204.) Small moves for attorneys’ fees, interest, and costs. (Docket

No. 202.) These motions are resolved below.

    A. Defendants DOCCS, Dolce, and Conway’s Post-Trial Motion

       Defendants DOCCS, Dolce, and Conway move for various forms of relief. First,

DOCCS argues that it is entitled to judgment as a matter of law under Rule 50, or a new

trial under Rule 59, on the basis that the evidence presented at trial was insufficient to

support its liability under Title VII. DOCCS also argues that the judgment must be altered

or amended under Rule 59 (e) or Rule 60 (b)(6) because compensatory damages for Title

VII violations are statutorily capped at $300,000.2            Second, Defendants Dolce and

Conway argue that they are entitled to judgment as a matter of law under Rule 50 or relief

from judgment under Rule 60 because the evidence presented at trial was insufficient to

support supervisory liability under 42 U.S.C. § 1983, or alternatively, because they are




2DOCCS does not otherwise challenge or seek remittitur of the damages award, including the award of
$370,000 in back pay and $1.8 million in front pay. (See Docket Nos. 199, 200.)

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entitled to qualified immunity as a matter of law. 3 But for agreeing that the statutory cap

on Title VII damages applies, Small opposes the motion.

          1. DOCCS has not demonstrated that it is entitled to judgment as a matter
             of law or a new trial on the basis that the trial evidence was insufficient
             to support its liability under Title VII.

          DOCCS moves for judgment as a matter of law or for a new trial on the grounds

that the trial evidence was insufficient to support its liability under Title VII.

          A party that moves for judgment as a matter of law at trial may renew that motion

and again seek judgment as a matter of law after the jury has returned its verdict. See

Fed. R. Civ. P. 50 (b)(3). In the first instance, the movant’s burden is a heavy one:

judgment as a matter of law can be awarded only when “a party has been fully heard on

an issue during a jury trial and the court finds that a reasonable jury would not have a

legally sufficient evidentiary basis to find for the party on that issue.” Fed. R. Civ. P. 50

(a)(1).

          That burden becomes even heavier—“particularly heavy”—when, as here, “the

jury has deliberated in the case and actually returned its verdict” in favor of the non-

moving party. Cross v. N.Y.C. Transit Auth., 417 F.3d 241, 248 (2d Cir. 2005). “In such

circumstances, a court may set aside the verdict only ‘if there exists such a complete

absence of evidence supporting the verdict that the jury’s findings could only have been

the result of sheer surmise and conjecture, or the evidence in favor of the movant is so

overwhelming that reasonable and fair minded persons could not arrive at a verdict



3 Like DOCCS, Defendant Dolce and Conway do not seek remittitur of the jury’s damages award against
them.
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against it.’” Cash v. County of Erie, 654 F.3d 324, 333 (2d Cir. 2011) (quoting Kinneary

v. City of New York, 601 F.3d 151, 155 (2d Cir. 2010)); see also Cruz v. Local Union No.

Three of the Int'l Bhd. of Elec. Workers, 34 F.3d 1148, 1154-55 (2d Cir. 1994) (noting that

judgment as a matter of law must be denied unless “there can be but one conclusion as

to the verdict that reasonable [jurors] could have reached.’”). “In short, a Rule 50 (b)

motion may be granted only if the court, viewing the evidence in the light most favorable

to the non-movant, concludes that a reasonable juror would have been compelled to

accept the view of the moving party.’”       Cash, 654 F.3d at 333 (quoting Zellner v.

Summerlin, 494 F.3d 344, 371 (2d Cir. 2007) (emphasis in Zellner)).

       In considering a Rule 50 (b) motion, “[t]he court must consider the evidence in the

light most favorable to the non-movant and ‘give that party the benefit of all reasonable

inferences that the jury might have drawn in his favor from the evidence’ bearing in mind

that a jury is free to believe or disbelieve any part of a witness’ testimony.” Jones v. Town

of E. Haven, 691 F.3d 72, 80 (2d Cir. 2012) (quoting Zellner, 494 F.3d at 371). In doing

so, the court may “disregard all evidence favorable to the moving party that the jury is not

required to believe.” Zellner, 494 F.3d at 371 (quoting Reeves v. Sanderson Plumbing

Prods., Inc., 530 U.S. 133, 135, 120 S. Ct. 2097, 147 L. Ed. 2d 105 (2000)). It may not,

however, “assess the weight of conflicting evidence, pass on the credibility of the

witnesses, or substitute its judgment for that of the jury.” Tolbert v. Queens Coll., 242

F.3d 58, 70 (2d Cir. 2001) (citations omitted).

       The standard under Rule 59, which permits a court to “grant a new trial on all or

some of the issues,” see Fed. R. Civ. P. 59 (a)(1), is less stringent. See Manley v.

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AmBase Corp., 337 F.3d 237, 244 (2d Cir. 2003). “In contrast to a judgment as a matter

of law, a new trial may be granted under Rule 59 even if there is substantial evidence to

support the jury's verdict.” Mono v. Peter Pan Bus Lines, Inc., 13 F. Supp. 2d 471, 475

(S.D.N.Y. 1998) (citing Song v. Ives Labs., Inc., 957 F.2d 1041, 1047 (2d Cir. 1992)). And

the court need not weigh the evidence in a light most favorable to the non-moving party.

Song, 957 F.2d at 1047. Nevertheless, “[a] motion for a new trial ordinarily should not be

granted unless the trial court is convinced that the jury has reached a seriously erroneous

result or that the verdict is a miscarriage of justice.” Townsend v. Benjamin Enters., Inc.,

679 F.3d 41, 51 (2d Cir. 2012) (internal citations and quotation marks omitted) (quoting

Medforms, Inc. v. Healthcare Mgmt. Sols., Inc., 290 F.3d 98, 106 (2d Cir. 2002)).

       DOCCS argues that it is entitled to judgment as a matter of law or a new trial

because Small failed to establish that the treatment she experienced at Attica rose to the

level required for liability under Title VII.

       A plaintiff claiming that she was the victim of a hostile work environment must

generally produce evidence from which a reasonable trier of fact could conclude “(1) that

the workplace was permeated with discriminatory intimidation that was sufficiently severe

or pervasive to alter the conditions of [her] work environment, and (2) that a specific basis

exists for imputing the conduct that created the hostile environment to the employer.”

Mack v. Otis Elevator Co., 326 F.3d 116, 122 (2d Cir. 2003) (quoting Richardson v. New

York State Dep’t of Corr. Serv., 180 F.3d 426, 443 (2d Cir. 1999)). “The sufficiency of a

hostile work environment claim is subject to both subjective and objective measurement:

the plaintiff must demonstrate that she personally considered the environment hostile,

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and that the environment rose to some objective level of hostility.” Leibovitz v. New York

City Transit Auth., 252 F.3d 179, 188 (2d Cir. 2001).

       With no citation to trial evidence, and construing the evidence in the exact opposite

manner required under Rule 50 (i.e., in its own favor), DOCCS maintains that Small’s

experience was merely the result of “a breakdown in a personal relationship [with

Defendant Cuer] that was occurring outside of the workplace and was spiraling beyond

[Small’s] control,” and that “the occasional looks and creepy comments” from Cuer at

Attica were not sufficiently pervasive or severe enough to establish an actionable hostile

work environment. (Memorandum of Law, Docket No. 206-1, pp. 8-9.) This is a gross

minimization of the evidence presented at trial.

       For the better part of 12 days, the jury heard unrebutted evidence—Defendant

Cuer did not testify—that Cuer relentlessly pursued Small, mercilessly preying on her

religious beliefs in an effort to coerce and convince Small that God intended her to be his

new wife. Cuer told Small that his wife would soon die and suggested that Small too

could die if she did not replace her. Cuer was as persistent as he was peculiar: he left

Small notes and letters at work; he stalked her classroom; he turned their colleagues

against her; he went to her home; he filed false accusations against her; he accused her

of being with other men. All of this conduct was unwelcomed. And Cuer was relentless:

his campaign continued long after Small made clear that she wished for it to stop, long

after it took its physical and psychological toll,4 and well after Small reported his conduct


4 Small’s physical ailments included loss of hair, loss of appetite, weight gain, lethargy, nausea, and
incessant coughing. Her psychological conditions included post-traumatic stress disorder, major
depressive disorder, sleep phobia, agoraphobia, and anxiety.
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to Defendants Dolce and Conway, who failed to act. Not even the Order of Protection

that Small obtained could stop it.

       Without question, the evidence presented at trial was sufficient for the jury to

determine that Small established the existence of a hostile work environment that

persisted without remedy. This is true whether considering all of the evidence in the light

most favorable to Small and crediting all reasonable inferences the jury could have drawn

in her favor (for judgment as a matter of law), or not (for a new trial). See Jones, 691

F.3d at 80. And as to its specific request for judgment as a matter of law, DOCCS has

made no effort to show, let alone established, that there is a complete lack of evidence

supporting the jury’s verdict or that the evidence in its favor was so overwhelming that no

reasonable juror could find in Small’s favor. See Cash, 654 F.3d at 333. DOCCS has

therefore failed to carry its burden of demonstrating that it is entitled to judgment as a

matter of law or a new trial. This aspect of DOCCS’s motion is therefore denied.

       2. The judgment must be amended to reflect the statutory cap on Title VII
          compensatory damages.

       DOCCS maintains that the judgment must be amended to reduce the jury’s $2.4

million compensatory damages award against DOCCS to $300,000, which is the statutory

cap. Small agrees. Indeed, Title VII compensatory damages are capped at $300,000

against employers, like DOCCS, that have more than 500 employees. See 42 U.S.C. §

1981a (b)(3)(D); Turley v. ISG Lackawanna, Inc., 774 F.3d 140, 166 n. 25 (2d Cir. 2014)

(“Title VII caps total recovery, including punitive damages, at $300,000.”) (citing 42 U.S.C.

§ 1981a (b)(3)). The judgment will therefore be amended to reduce the jury’s $2.4 million


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compensatory damages award against DOCCS to $300,000. This aspect of DOCCS’s

motion is granted.

       3. Defendants Dolce and Conway have not demonstrated that the trial
          evidence was insufficient to support their liability under 42 U.S.C. § 1983.

       Defendants Dolce and Conway argue that they are entitled to judgment as a matter

of law or relief from the final judgment because the trial evidence was insufficient for a

reasonable jury to find that they were involved in the deprivation of Small’s right to be free

from a hostile work environment, as required for liability under 42 U.S.C. § 1983.

       Civil liability is imposed under 42 U.S.C. ' 1983 only upon persons who, acting

under color of state law, deprive an individual of rights, privileges, or immunities secured

by the Constitution and laws. See 42 U.S.C. ' 1983. To succeed on a § 1983 claim, a

plaintiff must establish that the challenged conduct “(1) was attributable to a person acting

under color of state law, and (2) deprived the plaintiff of a right, privilege, or immunity

secured by the Constitution or laws of the United States.” Whalen v. County of Fulton,

126 F.3d 400, 405 (2d Cir. 1997); see also Hubbard v. J.C. Penney Dep’t Store, 05-CV-

6042, 2005 WL 1490304, at *1 (W.D.N.Y. June 14, 2005).

       Personal involvement in the deprivation of a federal constitutional right is the sine

qua non of liability under § 1983. See Haygood v. City of New York, 64 F. Supp. 2d 275,

280 (S.D.N.Y. 1999).      It is well settled in this circuit that personal involvement by

defendants in cases alleging constitutional deprivations is a prerequisite to an award of

damages under § 1983. See McKinnon v. Patterson, 568 F.2d 930, 934 (2d Cir. 1977);

Richardson v. Coughlin, 101 F. Supp. 2d 127, 129 (W.D.N.Y. 2000); Pritchett v. Artuz,

No. 99 Civ. 3957 (SAS), 2000 WL 4157, at *5 (S.D.N.Y. Jan. 3, 2000).
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       The Second Circuit construes personal involvement in this context to mean “direct

participation, or failure to remedy the alleged wrong after learning of it, or creation of a

policy or custom under which unconstitutional practices occurred, or gross negligence in

managing subordinates.” Black v. Coughlin, 76 F.3d 72, 74 (2d Cir. 1996); see also

Wright v. Smith, 21 F.3d 496, 501 (2d Cir. 1994). Personal involvement need not be

active participation. It can be found “when an official has actual or constructive notice of

unconstitutional practices and demonstrates gross negligence or deliberate indifference

by failing to act.” See Meriwether v. Coughlin, 879 F.2d 1037, 1048 (2d Cir. 1989). Thus,

personal involvement can be established by showing that

              (1) the defendant participated directly in the alleged
              constitutional violation; (2) the defendant, after being informed
              of the violation through a report or appeal, failed to remedy
              the wrong; (3) the defendant created a policy or custom under
              which unconstitutional practices occurred, or allowed the
              continuance of such a policy or custom; (4) the defendant was
              grossly negligent in supervising subordinates who committed
              the wrongful acts; or (5) the defendant exhibited deliberate
              indifference to others’ rights by failing to act on information
              indicating that constitutional acts were occurring.

Liner v. Goord, 582 F. Supp. 2d 431, 433 (W.D.N.Y. 2008) (citing Colon v. Coughlin, 58

F.3d 865, 873 (2d Cir. 1995)); Hayut v. State Univ. of New York, 352 F.3d 733, 753 (2d

Cir. 2003).

       Defendants Dolce and Conway first argue that their failure to act on Small’s

complaints did not proximately cause her any harm because when they finally did forward

her complaints to the Office of Diversity Management, that office took no action. This

argument, which narrowly focuses on only the failure to forward Small’s complaints,
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entirely ignores the unrebutted evidence that despite having direct and specific

knowledge about the discriminatory conditions of Small’s employment, neither Dolce nor

Conway intervened or took any action to stop it. They did not investigate her complaints.

They did not keep Defendant Cuer away from her. They did not counsel Cuer. They did

nothing whatsoever to meaningfully address the situation, other than to cause Small to

change classrooms and limit her movements, a misguided reaction that only compounded

the already hostile work environment. Thus, Dolce and Conway’s failure to timely report

Small’s claims to the Office of Diversity Management is just one of many failures on their

part, each of which permitted the intolerable work conditions to persist unaddressed.

Sufficient evidence—indeed, mostly unrebutted evidence—thus supports the jury’s

verdict against Dolce and Conway.

      Defendants Dolce and Conway next argue that there was insufficient evidence to

establish supervisory liability against them because they did not act with intent to

discriminate. In discrimination cases, however, inaction may be actionable. The failure

to promptly and properly handle workplace complaints, as set forth above, constitutes

personal involvement in the deprivation sufficient to support liability.    See Duch v.

Jakubek, 588 F.3d 757, 766 (2d Cir. 2009).

      The unrebutted evidence at trial established that both Defendants Dolce and

Conway had direct knowledge of the hostile work environment that Small faced yet

elected to ignore it and failed to forward Small’s complaints to the Office of Diversity

Management for formal investigation. There was further evidence that Dolce directly

contributed to the discrimination by reassigning Small to a less desirable classroom and

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restricting her movement around the facility while taking no action against Defendant

Cuer. Thus, the evidence was sufficient for the jury to find supervisory liability as to both

Dolce and Conway based on at least (1) direct participation in the hostile work

environment, (2) failure to remedy the hostile work environment after being informed that

it existed, (3) gross negligence in the supervision of Cuer, and (4) deliberate indifference

to Small’s plight. See Liner, 582 F. Supp. 2d at 433. The trial evidence was therefore

more than sufficient to support the jury’s verdicts against Dolce and Conway, and they

have made little effort to show otherwise. See, e.g., Saxon v. Attica Med. Dep’t, 468 F.

Supp. 2d 480, 483 (W.D.N.Y. 2007) (“personal involvement can be established upon a

showing that a supervisory official became aware of a violation and failed to remedy it”);

Wise v. N.Y. City Police Dep’t, 928 F. Supp. 355, 368-69 (S.D.N.Y. 1996) (finding that a

supervisory officer could be personally involved in an alleged deprivation of rights when

the plaintiff had proffered evidence that the officer knew of the harassment but failed to

remedy it).

       It must further be noted that these two arguments ring particularly hollow when

applying the Rule 50 standard: consideration of all evidence in the light most favorable to

Small and crediting all reasonable inferences in her favor. See Jones, 691 F.3d at 80.

Moreover, Defendants Dolce and Conway have failed to show a complete lack of

evidence supporting the jury’s verdict or such overwhelming evidence in their favor such

that they are entitled to judgment as a matter of law. See Cash, 654 F.3d at 333. Their




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request for judgment as a matter of law or relief from the final judgment5 on these grounds

is therefore denied.

        4. Defendants Dolce and Conway have not demonstrated that they are
           entitled to qualified immunity as a matter of law.

        Defendants Dolce and Conway alternatively argue that they are entitled to

judgment as a matter of law on the basis of qualified immunity. At trial, the jury rejected

their qualified immunity defenses. (Docket No. 197.)

        Qualified immunity protects officials from § 1983 liability if (1) their actions did not

violate clearly established law, or (2) it was objectively reasonable for them to believe that

their actions did not violate the law. See Warren v. Keane, 196 F.3d 330, 332 (2d Cir.

1999). Here, Defendants Dolce and Conway again minimize their conduct by arguing

that it was not clearly established that failing to report Small’s complaint to the Office of

Diversity Management would violate her constitutional rights, since Defendant Cuer’s

actions occurred outside of the workplace. This argument is wholly unpersuasive.

        First, Defendants Dolce and Conway once again take the narrowest view of the

evidence and construe it entirely in their favor, blatantly ignoring the majority of the trial

evidence and the proper standard for judgment as a matter of law.




5 Rule 60 (b) enumerates certain circumstances under which a district court may relieve a party from a final
judgment. Generally, a Rule 60 (b) motion is granted only in Aextraordinary circumstances@ when it is
necessary to Aoverride the finality of judgments in the interest of justice.@ Andrulonis v. United States, 26
F.3d 1224, 1235 (2d Cir. 1994); see also Nemaizer v. Baker, 793 F.2d 58, 61 (2d Cir. 1986) (noting that
A[s]ince 60 (b) allows extraordinary judicial relief, it is invoked only upon a showing of exceptional
circumstances@). Defendants Conway and Dolce have made no such showing here.
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       Second, the factual premise of their argument—that Defendant Cuer’s offending

conduct occurred outside of the workplace—is simply not true. As indicated above, Small

presented abundant evidence that Cuer harassed her at Attica.

       Third, Defendants Dolce and Conway’s contention that their failure to forward

Small’s complaint was simply a “mistake in judgment” flies directly in the face of the jury’s

findings and ignores the weight of the trial evidence, which established that their conduct

went beyond simply failing to timely report Small’s complaint and included deliberately

failing to remedy the discrimination and hostile work environment despite having direct

knowledge of its existence.

       Accordingly, for these reasons, Defendants Dolce and Conway’s claim that they

are entitled to judgment as a matter of law based on qualified immunity is unfounded, and

therefore, denied. The jury’s verdict against them will stand.

   B. Defendant Cuer’s Post-Trial Motion

       Defendant Cuer moves for a new trial or remittitur of the verdict under Rule 59 (a),

and for alteration or amendment of the judgment under Rule 59 (e).

       1. Defendant Cuer has not demonstrated that he is entitled to a new trial.

       Defendant Cuer argues that he is entitled to a new trial because the jury’s verdict

is against the weight of the evidence and its compensatory damages award is unclear,

ambiguous, and duplicative.

       “A motion for a new trial ordinarily should not be granted unless the trial court is

convinced that the jury has reached a seriously erroneous result or that the verdict is a

miscarriage of justice.” Townsend, 679 F.3d at 51 (internal citations and quotation marks

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omitted) (quoting Medforms, 290 F.3d at 106).         When damages are challenged as

duplicative, “[t]here is a presumption that a jury’s award is valid.” Bender v. City of N.Y.,

78 F.3d 787, 793 (2d Cir. 1996).

       Defendant Cuer first asserts that a new trial is required because the verdict is

against the weight of the evidence.      He does not, however, offer any argument or

evidence in support of this bald assertion. He therefore fails to carry his burden. See

Norton, 145 F.3d at 118 (noting that the party seeking to overturn a verdict carries the

burden of proof).

       Defendant Cuer next argues that a new trial is necessary because the jury’s

compensatory damages award is unclear, confusing, ambiguous, and duplicative. He

correctly notes that the jury awarded $2.4 million in compensatory damages against

DOCCS, and then awarded an equal amount in compensatory damages against the

individual defendants apportioned among them—Cuer ($1.68 million); Dolce ($480,000);

Conway ($240,000). Cuer takes issue with this award as confusing because, in his view,

“the question remains what amount of compensatory damages the Jury intended to

award, either $2,400,000.00 or that amount multiplied by two.” (Memorandum of Law,

Docket No. 205, p. 5.)

       Contrary to Defendant Cuer’s argument, nothing in the jury’s verdict suggests that

it intended a single, collective award of $2.4 million against all defendants.         Cuer

maintains that the jury may have intended a total award of $2.4 million, which it then

apportioned as $1.68 million against Cuer, $480,000 against Dolce, and $240,000 against

Conway. (Affidavit of James Wujcik, Docket No. 204-1, ¶¶ 10-17.) But this cannot be,

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because the verdict sheet on its face reflects that the jury entered individual damage

awards against each separate defendant, as this Court instructed it to do. Moreover,

under Cuer’s formulation, the jury would have made no award against DOCCS, which it

clearly found liable.

        Rather, the completed verdict form quite plainly reflects what the jury intended: a

compensatory damages award of $4.8 million (not including front and back pay). It

awarded $2.4 million in compensatory damages against DOCCS, and another $2.4

million in compensatory damages collectively against Defendants Cuer, Dolce, and

Conway, for a collective compensatory damages award of $4.8 million. In apportioning

the total $4.8 million award, the jury may well have found that DOCCS was 50%

responsible; that Cuer was 35% responsible; that Dolce was 10% responsible; and that

Conway was 5% responsible. Setting aside the amount of the award, Cuer offers no

reason why the jury could not reasonably proceed in this manner.

        In any event, Defendant Cuer waived each of the arguments he now raises

because he failed to object at trial.6 See Lore v. City of Syracuse, 670 F.3d 127, 160 (2d

Cir. 2012) (“A party that fails to object at trial to the substance or ambiguity of special

verdict questions to be put to the jury waives its right to a new trial on that ground and

has no right to object to such matters on appeal . . . unless the error is fundamental.”);

Kosmynka v. Polaris Indus., Inc., 462 F.3d 74, 83 (2d Cir. 2006) (“a party waives its




6To the extent that Defendant Cuer’s argument is directed to deficiencies in the jury verdict form itself, this
argument too is waived because Cuer also failed to object to the verdict form at trial. See Jarvis v. Ford
Motor Co., 283 F.3d 33, 57 (2d Cir. 2002) (noting that the “failure to object to a jury instruction or the form
of an interrogatory prior to the jury retiring results in a waiver of that objection”).
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objection to any inconsistency in a jury verdict if it fails to object to the verdict prior to the

excusing of the jury”); U.S. Football League v. Nat’l Football League, 842 F.2d 1335, 1367

(2d Cir. 1988) (finding waiver when “the jury returns an ambiguous verdict and counsel

fails to seize the opportunity to raise an appropriate objection”). Cuer also waived any

arguments that the compensatory damage awards are duplicative. See E.J. Brooks Co.

v. Cambridge Sec. Seals, 12-CV-2937(LAP), 2015 WL 9704079, at *12 (S.D.N.Y. Dec.

23, 2015) (“courts have found that where a party does not timely raise the issue of

duplicative claims and where the jury’s intention is clear, the jury’s award should be

upheld and any objection is waived”); see also Walker v. City of New York, 11-CV-

314(CBA)(JMA), 2014 WL 12652345, at *13 (E.D.N.Y. Sept. 3, 2014) (“Failure to object

to a jury verdict form or the jury’s verdict waives a party’s argument that damages are

duplicative.”) (citing Bseirani v. Mashie, 107 F.3d 2, 1997 WL 3632, at *1 (2d Cir. 1997)

(“By not objecting to the instructions . . . or requesting that the jury be questioned before

being discharged, [defendant] has waived the argument that the damages are

duplicative.)

       Accordingly, Defendant Cuer’s request for a new trial on these grounds is denied.

       2. The damages award against Defendant Cuer is subject to remittitur.

       Defendant Cuer seeks remittitur of the jury’s damages award against him on the

grounds that it is excessive when weighed against the trial evidence. The jury returned

a verdict in Small’s favor on both causes of action that she brought against Cuer. For

Cuer’s deprivation of Small’s federally protected right to be free from a hostile work

environment, the jury awarded Small $1 million in compensatory damages and $50,000

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in punitive damages. For Cuer’s aiding and abetting the unlawful discrimination and

hostile work environment that DOCCS engaged in, the jury awarded Small $680,000 in

compensatory damages, $370,000 in back pay, and $1.8 million in front pay. The jury’s

total award against Cuer was thus $3.9 million.

       “A jury has broad discretion in measuring damages,” Dotson v. City of Syracuse,

No. 5:04-CV-1388 NAM/GJD, 2011 WL 817499, at * 13 (N.D.N.Y. Mar. 2, 2011), but

“there must be an upper limit, and whether that has been surpassed is . . . a question of

law,” Gasperini v. Ctr. for Humanities, Inc., 518 U.S. 415, 435, 116 S. Ct. 2211, 2223, 135

L. Ed. 2d 659 (1996) (quoting Dagnello v. Long Island R.R. Co., 289 F.2d 797, 806 (2d

Cir. 1961)). If a district court finds that the limit has been eclipsed, and that the damages

are excessive, it may order a new trial, a new trial limited to damages, or remittitur.

Thorsen v. County of Nassau, 722 F. Supp. 2d 277, 292 (S.D.N.Y. 2010) (citing Cross,

417 F.3d at 258).

       Remittitur, “a limited exception to the sanctity of jury fact-finding”, see Akermanis

v. Sea-Land Serv., Inc., 688 F.2d 898, 902 (2d Cir.1982), “is the process by which a court

compels a plaintiff to choose between reduction of an excessive verdict and a new trial,”

Earl v. Bouchard Transp. Co., 917 F.2d 1320, 1328 (2d Cir. 1990). It is appropriate where

“a properly instructed jury, hearing properly admitted evidence, nevertheless makes an

excessive award.” Werbungs Und Commerz Union Austalt v. Collectors' Guild, Ltd., 930

F.2d 1021, 1027 (2d Cir. 1991). A court’s decision to compel such a choice depends on

whether the jury's award is “so high as to shock the judicial conscience and constitute a



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denial of justice.” Payne v. Jones, 711 F.3d 85, 96 (2d Cir. 2012) (quoting Zarcone v.

Perry, 572 F.2d 52, 56 (2d Cir. 1978)).

              a. The compensatory damages award against Cuer is subject to
                 remittitur.

       Focusing on the jury’s entire $7.02 million verdict returned against all defendants,

Defendant Cuer argues that the award “is excessive when compared to controlling

precedent and when weighed against the evidence.” (Memorandum of Law, Docket No.

205, p. 7.) Cuer, however, neither cites controlling precedent nor identifies the trial

evidence upon which he relies.

       The only specific argument that Cuer makes in favor of remittitur is that the jury’s

overall damages award of $7.02 million is excessive and “shocks the conscience”

because it is more than triple the $2.3 million valuation of Small’s claims by her economic

expert. This argument limps for two reasons.

       First, the other defendants in this action do not seek remittitur of the damages

against them, and Defendant Cuer cannot do so on their behalf. Cuer’s arguments must

therefore be examined in relation to the $3.85 million in compensatory damages awarded

against him alone (not counting the $50,000 punitive damages award), not the overall jury

award of $7.02 million.

       Second, Defendant Cuer’s argument focuses solely on limited evidence

concerning the economic value of Small’s claims while entirely ignoring the extensive

evidence of psychological and physical harm that he caused, as presented at trial through

treating psychologist Dr. Fiona Gallacher and expert psychologist Dr. Norman Lesswing.

Their largely unrebutted testimony, which the jury could reasonably have accepted,
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supports a significant award for emotional damages in this case.           See Patrolmen’s

Benevolent Ass’n. of City of New York v. City of New York, 310 F.3d 43, 55 (2d Cir. 2002)

(reasoning that compensatory damages for emotional distress are permitted under § 1983

when substantiated by evidence in addition to a plaintiff’s subjective testimony, such as

by witnesses to the plaintiff’s distress or by the objective circumstances of the violation

itself).

           Because Defendant Cuer concedes that Small presented evidence at trial from

which the jury could reasonably find that her economic damages alone were $2.3 million,

the question becomes whether the balance of the jury’s award—$1.55 million—which

may fairly be attributed to emotional and physical damage, is “so high as to shock the

judicial conscience and constitute a denial of justice.” Payne, 711 F.3d at 96.

           One of the most concrete methods used to resolve such questions is to “consider[

] . . . the amounts awarded in other, comparable cases.” DiSorbo v. Hoy, 343 F.3d 172,

183 (2d Cir. 2003). Defendant Cuer, however, makes no effort whatsoever to employ this

method: he does not cite a single case, comparable or otherwise, in support of his

contention that the jury’s verdict shocks the conscience. Nonetheless, examination of

caselaw compels the finding that remittitur is required.

           Emotional distress awards within the Second Circuit can “generally be grouped

into three categories of claims: ‘garden-variety,’ ‘significant’ and ‘egregious.’” See, e.g.,

Olsen v. County of Nassau, 615 F. Supp. 2d 35, 46 (E.D.N.Y. 2009); Mugavero v. Arms

Acres, Inc., 680 F. Supp. 2d 544, 578 (S.D.N.Y. 2010).



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       In “garden variety” emotional distress cases, “the evidence of mental suffering is

generally limited to the testimony of the plaintiff, who describes his or her injury in vague

or conclusory terms, without relating either the severity or consequences of the injury.”

Khan v. Hip Centralized Lab. Servs., Inc., No. CV-03-2411, 2008 WL 4283348, at *11

(E.D.N.Y. Sept. 17, 2008). “Garden variety” emotional distress claims “generally merit

$30,000 to $125,000 awards.” Mugavero, 680 F. Supp. 2d at 578.

       “Significant” emotional distress claims “are based on more substantial harm or

more offensive conduct, are sometimes supported by medical testimony and evidence,

evidence of treatment by a healthcare professional and/or medication, and testimony from

other, corroborating witnesses.” Khan, 2008 WL 4283348, at *11. “Significant” claims

merit awards at least as high as $175,000. See, e.g., Mugavero, 680 F. Supp. 2d at 578

(upholding total emotional distress award of $175,000 where the plaintiff offered evidence

of “more than a ‘garden variety’ claim”).

       Finally, “egregious” emotional distress claims “generally involve either ‘outrageous

or shocking’ discriminatory conduct or a significant impact on the physical health of the

plaintiff.” Khan, 2008 WL 4283348, at *12. Substantially higher awards are appropriate

for these types of claims. See, e.g., Ramirez v. N.Y. City Off-Track Betting Corp., 112

F.3d 38, 41 n.1 (2d Cir. 1997) (upholding $500,000).

       From the unrebutted testimony at trial, the jury could reasonably have determined

that Cuer’s conduct was outrageous and shocking, such that it had a significant impact

on Small’s psychological and physical health. Small presented evidence that Cuer’s

campaign of harassment left her with debilitating psychological conditions—including

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post-traumatic stress disorder, major depressive disorder, sleep phobia, agoraphobia,

and anxiety—as well as physical ailments, including loss of hair, grinding teeth, incessant

coughing leading to a prolapsed bladder, twitching, loss of appetite, weight gain, lethargy,

nausea, and diarrhea. The jury may therefore have reasonably found this to be an

egregious case warranting substantial damages.

       Unlike Defendant Cuer, Small presents cases that she deems supportive of the

jury’s award, but upon close examination, none of them are comparable to the

circumstances here. In Turley, the Second Circuit upheld a compensatory damages

award of $1.32 million in an employment action, but that case, which this Court presided

over, involved a 3-year pattern of extreme racial harassment that was “unique, combining

years of grotesque psychological abuse leading to a marked decline in [the plaintiff’s]

mental health and well-being.” 774 F.3d at 146, 162-164. The facts here do not approach

those in Turley.    In Manganiello v. City of New York, the Second Circuit upheld a

compensatory damages award of $1,426,261 in a § 1983 malicious prosecution case, but

only $116,600 of that award was for non-pecuniary damages. 612 F.3d 149, 168 (2d Cir.

2010). In Osorio v. Source Enters., Inc., a Title VII gender-discrimination/hostile work

environment case in which the jury awarded $4 million in compensatory damages for

emotional distress and harm to reputation, the district court refused to grant remittitur, but

it cannot be determined how much of the $4 million award was attributable to harm to

reputation and how much to emotional damages. No. 05 Civ. 10029(JSR), 2007 WL

683985, at *5 (S.D.N.Y. Mar. 2, 2007). Small’s cases are therefore not instructive.



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          In this Court’s view, what amounts to a $1.55 million psychological/physical

damages award against Defendant Cuer does in fact shock the conscience and constitute

a denial of justice. Remittitur is therefore required. But without question, Small suffered

persistent, pervasive, troubling discrimination that no one would remedy, despite her

cries. It is an egregious case, but one that lasted months, not years. It is akin to Chopra

v. Gen. Elec. Co., a Title VII case involving retaliatory treatment over the course of nine

months in which the district court upheld the jury’s $500,000 award for emotional distress.

527 F. Supp. 2d 230, 247 (D.Conn. 2007). It is also akin to Ramirez, a Title VII case

involving discrimination and retaliation that occurred over a period of eight months in

which the Second Circuit upheld the district court’s remittitur of the jury’s non-pecuniary,

pain-and-suffering award to $500,000. 112 F.3d at 41, n. 1. Consequently, this Court

finds that an emotional damages award of $500,000 is warranted.

          Accordingly, the remittitur offered is a total compensatory damages award against

Defendant Cuer of $2.88 million, which represents $2.3 million in unchallenged pecuniary

damages7 and $500,000 in psychological/physical damages. If Small does not accept

this remittitur, this Court will vacate the damages award against Cuer and conduct a new

trial on damages.

                   b. The punitive damages award against Defendant Cuer is affirmed.

          In addition to challenging the compensatory damages award, Defendant Cuer also

seeks remittitur of the jury’s $50,000 punitive damages award on the grounds that it is

excessive and against the weight of the evidence. This Court disagrees.


7   This includes the jury’s award of $370,000 in back pay and $1.8 million in front pay.
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       “Awards of punitive damages are by nature speculative, arbitrary approximations.”

Payne, 711 F.3d at 93. Nonetheless, courts have an obligation to ensure that such

awards are “fair, reasonable, predictable, and proportionate.” Id. Judicial review of

punitive damages awards, in fact, “has been a safeguard against excessive verdicts for

as long as punitive damages have been awarded.” Id. at 96 (citing Honda Motor Co. v.

Oberg, 512 U.S. 415, 421, 114 S. Ct. 2331, 129 L. Ed. 2d 336 (1994)).

       Punitive damages must be “reasonable in their amount and rational in light of their

purpose to punish what has occurred and to deter its repetition.” Pac. Mut. Life Ins. Co.

v. Haslip, 499 U.S. 1, 21, 111 S. Ct. 1032, 1045, 113 L. Ed. 2d 1 (1991). An award of

punitive damage is reversed only if it is “so high as to shock the judicial conscience and

constitute denial of justice.” Hughes v. Patrolmen’s Benevolent Ass’n, 850 F.2d 876, 883

(2d Cir. 1988).

       A court’s authority to limit an award derives in part from the Due Process Clause

of the Fourteenth Amendment. Cooper Indus., Inc. v. Leatherman Tool Grp., Inc., 532

U.S. 424, 433, 121 S. Ct. 1678, 1683, 149 L. Ed. 2d 674 (2001). When a federal court

reviews a state-court award, punitive damages violate the Due Process Clause if they are

“grossly excessive.” Id.; BMW of N. Am., Inc. v. Gore, 517 U.S. 559, 562, 116 S. Ct.

1589, 134 L. Ed. 2d 809 (1996). But a federal trial court reviewing its own jury’s verdict

for excessiveness has an independent “supervisory authority.” Payne, 711 F.3d at 97.

Therefore, “a degree of excessiveness less extreme than ‘grossly excessive’ will justify”

remittitur in cases such as this. Id.



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        The three guideposts articulated by the Supreme Court in Gore inform this inquiry.

517 U.S. at 574–75.       Those guideposts are: (1) degree of reprehensibility of the

defendant's conduct; (2) relationship of the punitive damages to the compensatory

damages; and (3) disparity between the punitive damages award and penalties imposed

in comparable cases. Id.; Payne, 711 F.3d at 101. Defendant Cuer’s limited argument

relates only to reprehensibility.

        The degree of reprehensibility of the defendant's misconduct is “[p]erhaps the most

important indicum of the reasonableness of a punitive damages award.” Gore, 517 U.S.

at 575. “This guidepost is particularly important and useful because punitive damages

are intended to punish, and the severity of punishment, as in the case of criminal

punishments, should vary with the degree of reprehensibility of the conduct being

punished.” Payne, 711 F.3d at 101.

        The Supreme Court has outlined five factors relevant to determining the

reprehensibility of a defendant’s conduct.        See State Farm Mut. Auto. Ins. Co. v.

Campbell, 538 U.S. 408, 419, 123 S. Ct. 1513, 1521, 155 L. Ed. 2d 585 (2003). Courts

should consider whether

              the harm caused was physical as opposed to economic; the
              tortious conduct evinced an indifference to or a reckless
              disregard of the health or safety of others; the target of the
              conduct had financial vulnerability; the conduct involved
              repeated actions or was an isolated incident; and the harm
              was the result of intentional malice, trickery, or deceit, or mere
              accident.

Id.



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      Defendant Cuer’s only argument in support of his request for remittitur of punitive

damages is that “the evidence at trial shows intermittent contact and communication

between [himself] and [Small] after March 2010.” (Memorandum of Law, Docket No. 205,

p. 6.) Cuer argues that punitive damages are unwarranted because he transferred out of

the Academic Building and away from Small to minimize his contact with Small after their

friendship ended. In so arguing, Cuer once again ignores the unrebutted evidence of his

harassing behavior, including leaving notes on Small’s car, accusing Small of being with

other men, filing false charges against her at work, and acting in a manner to cause the

need for Small to obtain a protective order against him, all during the period when he

claims to have minimized his contact with her.

      As set out above, the trial evidence was sufficient for the jury to find Defendant

Cuer’s conduct sufficiently reprehensible to warrant punitive damages. In addressing the

reprehensibility factors (which Cuer fails to do), Cuer caused both psychological and

physical harm; he totally disregarded Small’s mental health; he preyed on Small’s

vulnerabilities (though not financial); he persisted in repeated acts of harassment both

before and after Small asked him to stop; and he intentionally targeted Small and warped

her religious beliefs to coerce or deceive her into believing that God wanted her to

succumb to his otherwise unwanted advances. Cuer’s conduct was thus sufficiently

reprehensible to support the jury’s award of punitive damages.

      The next factor is proportionality.    “Courts must ensure that the measure of

punishment is both reasonable and proportionate to the amount of harm to the plaintiff

and to the general damages recovered.” State Farm, 538 U.S. at 426. This factor—the

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ratio between the punitive and compensatory damages—is the “most commonly cited

indicum of an unreasonable or excessive punitive damages award.” Gore, 517 U.S. at

580. A bright-line test, however, is inappropriate, see id. at 582–83, as “it is difficult or

impossible to make useful generalizations,” Payne, 711 F.3d at 102. But “in practice, few

awards exceeding a single-digit ratio between punitive and compensatory damages will

satisfy due process.” State Farm, 538 U.S. at 425.

          Here, unlike in most cases, the jury’s punitive damages award against Defendant

Cuer is a fraction of the compensatory damage award, not a multiple of it. The jury

awarded $50,000 in punitive damages against a remitted compensatory damages award

against Cuer of $2.88 million. The punitive damages award is therefore reasonable and

proportionate, and Cuer makes no specific arguments otherwise.

          The third, and arguably least important, guidepost assesses the “disparity between

the punitive damages award and the ‘civil penalties authorized or imposed in comparable

cases.’” State Farm, 538 U.S. at 428 (quoting Gore, 517 U.S. at 575). Defendant Cuer

has not come forward with any comparable cases demonstrating any impermissible

disparity in the jury’s punitive damages award.

          Considering the totality of the circumstances, including the degree of

reprehensibility, the compensatory award, Defendant Cuer’s failure to assert meaningful

arguments, and the ultimate purpose of punitive damages—to punish and deter future

misconduct—this Court finds that the jury’s $50,000 punitive damages award is both

reasonable and well supported by the trial evidence. It is therefore affirmed.8


8   For all of the reasons stated herein, Defendant Cuer’s request to alter or amend the judgment under Rule
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    C. Small’s Motion for Attorneys’ Fees, Costs, and Interest

        Small seeks attorneys’ fees in the amount of $1,054,600, costs in the amount of

$100,448.72, and pre- and post-judgment interest at the New York rate of 9%.

Defendants oppose only Small’s request for attorneys’ fees.9

        1. Small is entitled to attorneys’ fees in the amount of $862,395.30.

        To ensure that federal rights are adequately enforced, a prevailing party in a civil

rights action may recover, subject to the court’s discretion, “a reasonable attorney's fee.”

See 42 U.S.C. § 1988 (b) (permitting recovery of attorneys’ fees in actions brought under

42 U.S.C. § 1983); 42 U.S.C. § 2000e-5 (k) (permitting recovery of attorneys’ fees in Title

VII actions); Perdue v. Kenny A. ex rel. Winn, 559 U.S. 542, 550, 130 S. Ct. 1662, 176 L.

Ed. 2d 494 (2010).           The same is true for a prevailing party in an employment

discrimination suit brought under the New York Human Rights Law. See N.Y. Exec. L. §

297 (10) (providing that “with respect to a claim of employment . . . discrimination where

sex is a basis of such discrimination . . . the court may in its discretion award reasonable

attorney’s fees attributable to such claim to any prevailing party”). A prevailing party may

also seek attorneys’ fees for post-trial work, including applications for attorneys’ fees and

costs. See Hines v. City of Albany, 862 F.3d 215, 223 (2d Cir. 2017).

        Determining attorneys’ fees involves a two-step process. First, the court must

determine whether the party seeking fees is a prevailing party. See Pino v. Locascio, 101




59 (e), which is not brought on an independent basis, is also denied.

9Defendant Cuer did not file separate opposition to Small’s motion. He joined the opposition filed by
Defendants DOCCS, Dolce, and Conway. (Docket No. 212.)
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F.3d 235, 237 (2d Cir. 1996). If so, the court must then assess whether the requested

fee is reasonable. See id. “A ‘reasonable’ fee is a fee that is sufficient to induce a capable

attorney to undertake the representation of a meritorious civil rights case.” Perdue, 559

U.S. at 552. The fee-seeking party bears the burden of “establishing entitlement to an

award and documenting the appropriate hours expended and hourly rates.” See Savoie

v. Merchants Bank, 166 F.3d 456, 463 (2d Cir. 1999).

       In this circuit, if a court finds a fee award to be appropriate, it must set a

“reasonable hourly rate,” which is “the rate a paying client would be willing to pay.” Arbor

Hill Concerned Citizens Neighborhood Ass'n v. County of Albany, 522 F.3d 182, 190 (2d

Cir. 2008). To determine this rate courts must assess a variety of case-specific variables.

See Adorno v. Port Auth. of N.Y. & N.J, 685 F. Supp. 2d 507, 510-11 (S.D.N.Y. 2010).

Those variables include the twelve Johnson factors: (1) the time and labor required; (2)

the novelty and difficulty of the questions; (3) the level of skill required to perform the legal

service properly; (4) the preclusion of employment by the attorney due to acceptance of

the case;    (5) the attorney's customary hourly rate; (6) whether the fee is fixed or

contingent; (7) the time limitations imposed by the client or the circumstances; (8) the

amount involved in the case and the results obtained; (9) the experience, reputation, and

ability of the attorneys; (10) the “undesirability” of the case; (11) the nature and length of

the professional relationship with the client; and (12) awards in similar cases. See Arbor

Hill, 522 F.3d at 190 (citing Johnson v. Georgia Highway Exp., Inc., 488 F.2d 714, 717-

19 (5th Cir. 1974)). The court must also consider that a paying client would wish to spend

the minimum necessary to litigate the case effectively. See id.

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       Once the reasonable hourly rate is identified, the court uses it to calculate the

presumptively reasonable fee by multiplying the rate by the number of hours reasonably

expended. See id.

       There is no dispute that Small is a prevailing party. A party is a prevailing party if

the party “succeeds on any significant issue in litigation which achieves some of the

benefit the parties sought in bringing suit.” Farrar v. Hobby, 506 U.S. 103, 109, 113 S.

Ct. 566, 121 L. Ed. 2d 494 (1992). Here, Small succeeded on each of her four causes of

action and obtained a significant damages award. Small is therefore entitled to recover

her attorneys’ fees. See Hensley v. Eckerhart, 461 U.S. 424, 429, 103 S. Ct. 1933, 76 L.

Ed. 2d 40 (1983) (“a prevailing plaintiff should ordinarily recover an attorney’s fee unless

special circumstances would render such an award unjust”).

       Small seeks $1,054,600 in attorneys’ fees. She supports her request with a 162-

page billing statement covering the time period August 10, 2011, through September 28,

2018. (Billing Statement, Docket No. 201-2.) The billing statement contains entries from

multiple legal professionals and reflects instances of “block billing.” Defendants maintain

that Small’s fee request is unreasonable both because the requested hourly rates exceed

those permitted in this district and because the billing statement shows overstaffing,

inflated billing, and vague entries. Defendants request that Small’s request be trimmed

by one-third to account for these overages.

              a. Reasonableness of the hourly rates claimed.

       The first issue is the reasonableness of the hourly rates claimed, which have

periodically increased over the 7-year course of this litigation. For example, lead counsel

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Jennifer Shoemaker, a litigation partner with 18 years’ experience in labor and

employment litigation, billed $493,755.50 for 1,670.6 hours at hourly rates that varied from

$225 to $320. (Shoemaker Affirmation; Docket No. 201, ¶¶ 47, 48; Billing Statement, p.

5.) Second-chair Alina Nadir, a litigation associate with 8 years’ experience in labor and

employment litigation, billed $329,341 for 1,317.6 hours at hourly rates that varied from

$235 to $260. (Id. ¶ 50; Billing Statement, p. 5.) Principal paralegal Janice Hance, a

litigation paralegal with 28 years’ experience, billed $194,831.50 for 1,180.1 hours at

hourly rates that varied from $135 to $175. (Shoemaker Affirmation; Docket No. 201, ¶

49; Billing Statement, p. 5.). For ease of analysis, this Court will divide the total amount

billed by the total number of hours claimed to reach an average single rate-per-hour. This

results in Shoemaker billing about $295/hour; Nadir billing about $250/hour; and Hance

billing about $165/hour.

       The billing statement also contains entries by eight other lawyers and five other

paralegals. Using the same method described above, the other eight lawyers billed at

the following average rates: Ramsey ($305/hour); Fitch ($295/hour); Cordello

($265/hour); Gregorio ($240/hour); Farrar ($258/hour); Keneally ($365/hour); Nunes

($345/hour); and Hull ($330/hour). (Billing Statement, pp. 5-6.) The five other paralegals

billed at rates as follows: Cross ($160/hour); Coleman ($125/hour); Smith-Schuler ($180);

Soeffing ($172/hour); Bansbach ($175/hour). (Id.)

       Assessing these average rates-per-hour, this Court finds that Shoemaker’s rate of

$295/hour and Nadir’s rate of $250/hour are reasonable and within the range of rates

approved in this district in civil rights actions for attorneys of comparable experience and

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expertise. See, e.g., Murray v. Coleman, 232 F. Supp. 3d 311, 317 (W.D.N.Y. 2017)

(finding in-court rate of $300/hour and out-of-court rate of $275/hour reasonable in civil

rights action); Davis v. Shah, 12-CV-6134-CJS, 2017 WL 2684100, at *2-4 (W.D.N.Y.

June 22, 2017) (approving $260/hour for attorney with 7 years’ experience); Costa v.

Sears Home Improvement Prods., Inc., 212 F. Supp. 3d 412, 420-21 (W.D.N.Y. 2016)

(noting that hourly rates generally approved in the WDNY for Title VII cases “are in the

range of $225-$250 for partner time or senior associate time, $150-$175 for junior

associate time, and $75 for paralegal time” but approving hourly rates of $300/hour for

attorney with 21 years’ experience and $250/hour for attorney with 9 years’ experience)

(collecting cases); Anello v. Anderson, 191 F. Supp. 3d 262, 282-83 (W.D.N.Y. 2106)

(approving unopposed rate of $250 per hour for partner in civil rights case). Considering

all of the relevant variables, this Court finds these are rates a client would willingly pay.

These rates are therefore approved as the reasonable hourly rates in this case.

       For the eight other attorneys, Small provides little information about their

experience and expertise, other than identifying whether they are a partner or associate.

(See Shoemaker Affirmation, Docket No. 201, ¶ 55.) Consequently, partners will be

approved at $295/hour and associates will be approved at $250/hour, unless the rate they

actually billed falls below these approved rates. See Cold Spring Const. Co. v. Spikes,

No. 11-CV-700S, 2013 WL 5295654, at *3 (W.D.N.Y. Sept. 18, 2013) (assigning rates

where no information was provided as to the experience and skill of the professionals

who worked on the matter).



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         In assessing Small’s paralegal rate of $165/hour, this Court finds that it is

excessive. In this district, a paralegal rate of $75/hour predominates, see Costa, 212 F.

Supp. 3d at 421; Anello, 191 F. Supp. 3d at 283; Glenn v. Fuji Grill Niagara Falls, LLC,

14-CV-380S, 2016 WL 1557751, at *7 (W.D.N.Y. Apr. 18, 2016), with a recent case

approving $115/hour for a paralegal with 7 years’ experience, see Shah, 2017 WL

2684100, at *2.

         To strike a balance between Hance’s 28 years’ experience and the unknown

experience of the other paralegals who billed considerable time, this Court will apply a

$100/hour rate to all paralegal time, a rate that this Court finds a reasonable paying client

would willingly pay.

         Applying these reasonable hourly rates—$295/hour for partners; $250/hour for

associates; $100/hour for paralegals—Small’s fee request becomes $966,242.50 for

4,388.8 hours as follows:

        Name           Position        Hourly Rate        Hours Billed            Total

 Shoemaker          Partner           $295              1,670.6            $492,827

 Ramsey             Partner           $295              4.6                $1,357

 Fitch              Partner           $295              .1                 $29.50

 Keneally           Partner           $295              2.7                $796.50

 Nunes              Partner           $295              .9                 $265.50

 Hull               Partner           $295              1                  $295

 Nadir              Associate         $250              1,317.6            $329,400



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 Cordello          Associate          $250              .3                 $75

 Gregorio          Associate          $240              6.3                $1,512

 Farrar            Associate          $250              8.1                $2,025

 Hance             Paralegal          $100              1,180.1            $118,010

 Cross             Paralegal          $100              130.4              $13,040

 Coleman           Paralegal          $100              49.4               $4,940

 Smith-Schuler     Paralegal          $100              .6                 $60

 Soeffing          Paralegal          $100              15.2               $1,520

 Bansbach          Paralegal          $100              .9                 $90

                                                               Total             Total

                                                              4,388.8        $966,242.50



              b. Reasonableness of the time expended.

       The second issue is the reasonableness of the time expended. The party seeking

attorney’s fees must support the number of hours expended with “contemporaneous time

records . . . [that] specify, for each attorney, the date, the hours expended, and the nature

of the work done.” N.Y.S. Ass’n for Retarded Children, Inc. v. Carey, 711 F.2d 1136,

1147-48 (2d Cir. 1983).     This Court must exclude any hours that were “excessive,

redundant, or otherwise unnecessary.” Hensley, 461 U.S. at 434. Indeed, all time must

be reasonably expended. Louis Vuitton Malletier S.A. v. LY USA, Inc., 676 F.3d 83, 111

(2d Cir. 2012). In making this determination, the court must ask whether the attorney

exercised “billing judgment.” See Anderson v. Rochester–Genesee Reg'l Transp. Auth.,
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388 F. Supp. 2d 159, 163 (W.D.N.Y. 2005). If the Court’s review is stymied by vague or

excessive entries or block-billing practices, an across-the-board fee reduction may be

warranted. See Zuffa, LLC v. S. Beach Saloon, Inc., CV 15-6355 (ADS)(AKT), 2019 WL

1322620, at *8 (E.D.N.Y. Mar. 6, 2019) (citing Anderson v. Cty. of Suffolk, No. CV 09-

1913, 2016 WL 1444594, at *6 (E.D.N.Y. April 11, 2016) and collecting cases).

       But “the district court is not obligated to undertake a line-by-line review of [an]

extensive fee application.” Marion S. Mishkin Law Office v. Lopalo, 767 F.3d 144, 150

(2d Cir. 2014). Rather, the court may “use a percentage deduction as a practical means

of trimming fat.” McDonald ex rel. Prendergast v. Pension Plan of the NYSA-ILA Pension

Tr. Fund, 450 F.3d 91, 96 (2d Cir. 2006). In that regard, “[a] court has discretion to impose

an across-the-board reduction if an attorney has billed excessive, redundant, or

unnecessary hours.” Kreisler v. Second Ave. Diner Corp., No. 10 Civ. 7592 (RJS), 2013

WL 3965247, at *3 (S.D.N.Y. July 31, 2013) (citation omitted). Across-the-board cuts

may also be imposed for vague billing entries. See id.

       Defendants first contend that the time Small’s counsel expended is unreasonable

because they overstaffed the case, using 10 attorneys and six paralegals. This raises

the question whether Small’s attorneys exercised sound billing judgment. As explained

in Anderson:

               In assessing whether an attorney’s time was reasonably
               expended, the Court must ask whether the attorney exercised
               billing judgment. As the Supreme Court has explained,
               “[c]ounsel for the prevailing party should make a good-faith
               effort to exclude from a fee request hours that are excessive,
               redundant, or otherwise unnecessary, just as a lawyer in
               private practice ethically is obligated to exclude such hours
               from his fee submission. In the private sector, billing judgment
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              is an important component in fee setting. It is no less
              important here. Hours that are not properly billed to one’s
              client also are not properly billed to one’s adversary pursuant
              to statutory authority.”

388 F. Supp. 2d at 163 (internal quotations and citations omitted). Seeking fees for

individuals who had little or no involvement in a case is indicative of poor billing judgment.

See Costa, 212 F. Supp. 3d at 425 (“the fact that Plaintiff’s counsel included time of about

one hour for two separate attorneys . . . who really had no involvement in the case . . .

suggests . . . that Plaintiff’s counsel has done anything but exercise billing judgment”).

Paying clients would likely not be billed, nor would they tolerate being billed, for such time.

       Here, Small seeks attorneys’ fees for work performed by several individuals who

are only peripherally related to this case. For example, of the 3,012.2 total attorney hours

billed, only 24 of those hours (or less than 1%) were billed by attorneys other than

Shoemaker and Nadir. Similarly, of the 1,376.6 total paralegal hours billed, only 16.7 of

those hours (or less than 2%) were billed by paralegals other than Hance, Cross, and

Coleman. Given this lack of billing judgment, this Court will not award fees for work done

by Ramsey, Fitch, Keneally, Nunes, Hull, Cordello, Gregorio, Farrar, Smith-Schuler,

Soeffing, and Bansbach, each of whom is only tangentially related to this litigation. See

id. at 426 (disallowing fees for individuals only tangentially involved in the case, ranging

from an individual who billed .7 hours to one who billed 28.3 hours).

       Defendants next argue that the total number of hours claimed—now 4,347.6—is

excessive given the circumstances of this particular case. Defendants maintain that “the

legal analysis was the same [for all claims] and [the] factual record was particularly

simple.” (Memorandum of Law, Docket No. 215, p. 2.) Without citing any examples, they
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fault Small’s attorneys for expending an “excessive, redundant number of hours for

attorneys who have practiced as long as they have.” (Id.) They also contend that “[m]any

of the time entries raise serious concerns about the accuracy of the time spent on certain

days and for certain tasks.” (Id. at p. 3.) In particular they argue that Small’s counsel

spent an unreasonable amount of time preparing for trial and completing discovery and

summary judgment motions. This Court disagrees.

       Although the legal claims were not unusually complicated, this case was not as

straightforward as Defendants suggest. The parties heavily litigated for more than seven

years. After Defendants answered Small’s amended complaint on August 27, 2013, it

took approximately 2½ years to complete discovery (complete with motions), after which

the parties litigated their summary judgment motions. Small’s counsel interviewed more

than 24 witnesses and reviewed thousands of pages of documents.                        (Shoemaker

Affirmation, Docket No. 218, ¶ 6.) Significantly, counsel had to fully prepare for trial three

different times, due to the first two trials needing to be unexpectedly adjourned.10 This

explains the significant trial preparation charges. The parties litigated motions in limine

and prepared extensive pretrial submissions. Trial then lasted 12 days. An unusual

amount of time and effort was therefore required to bring this case to trial.

       Defendants’ contention that many of the time entries “raise serious concerns” is

also unfounded. Defendants cite several instances in which “Plaintiff’s counsel” billed




10Trial was first scheduled to commence on September 26, 2017, but a criminal trial involving detained
defendants took priority and forced an adjournment. (See Docket No. 146.) Trial was then scheduled to
commence on March 13, 2018, but had to be adjourned due to a death in Defendants’ counsel’s family.
(See Docket No. 155.) Trial finally proceeded on September 11, 2018. (See Docket No. 179.)
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more than 24 hours in a single day, a circumstance that, if true, would certainly raise

suspicion. (Memorandum of Law, Docket No. 215, p. 3.) But what Defendants fail to

recognize is that multiple legal professionals worked on the case in a single day, thus

leading to what otherwise would appear to be billing anomalies. For example, on June

13, 2017, Shoemaker worked on the case for 13.2 hours; Nadir for 12.3 hours; and Hance

for 5 hours. (Billing Statement, Docket No. 201-2, pp. 107-108.) Similar circumstances

occurred on June 14 and September 14, 2017. (Id. at pp. 108, 127.) There is, of course,

nothing improper about multiple legal professionals working on a single case at the same

time so long as it is not redundant or duplicative.

       The rich and unusual facts of this case required painstaking preparation and

detailed presentation to the jury. Witness testimony was crucial, particularly that of Small,

who surely required delicate preparation given her fragile state. Counsels’ preparation

was therefore a critical factor in obtaining the result achieved, one that was

overwhelmingly in Small’s favor. In this Court’s view, the time billed is commensurate

with counsels’ task. This Court therefore finds that, under the unique circumstances of

this case, the time expended was not unreasonable.

       Finally, Defendants argue that the billing statement contains impermissibly vague

entries and block-billing, such as “meet with client,” “continue to review documents,”

“continue   document     review,”   “work   on    complaint,”   and   “continue   research.”

(Memorandum of Law, Docket No. 215, pp. 6-7.) This Court agrees to a limited extent.

       A billing entry “cannot be so vague as to bar the court from being able to decipher

its meaning in the context in which it appears.” Lewis v. Am. Sugar Ref., Inc., No. 14-CV-

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02302(CRK), 2019 WL 116420, at *6 (S.D.N.Y. Jan. 2, 2019).                “The practice of

aggregating multiple tasks into a single billing entry, known as block billing, is not per se

prohibited, but where such entries make it hard to discern the reasonableness of time

allotted to a given task, courts do consider its prevalence in deciding whether reduction

is appropriate.” Mayo-Coleman v. Am. Sugars Holding, Inc., 2019 WL 1034078, 2019

WL 1034078, at *4 (S.D.N.Y. Mar. 5, 2019); see also Hnot v. Willis Grp. Holdings Ltd.,

No. 01 CIV. 6558 GEL, 2008 WL 1166309, at *6 (S.D.N.Y. Apr. 7, 2008) (“Block-billing

can make it difficult for a court to conduct its reasonableness analysis, because a single

billing entry might mix tasks that are compensable with those that are not, or mix together

tasks that are compensable at different rates.”).

         Here, the billing statement is largely adequate and sufficiently detailed, but

Defendants are correct that it contains some vague entries and extensive block-billing,

which makes the overall reasonableness of the listed tasks difficult to discern. This Court

will therefore apply a 10% across-the-board reduction. See Aiello v. Town of Brookhaven,

No. 94 Civ. 2622, 2005 WL 1397202, at *3 (E.D.N.Y. June 13, 2005) (ordering 10%

reduction for difficulties arising from block-billing); Sea Spray Holdings, Ltd. v. Pali Fin.

Grp., Inc., 277 F. Supp. 2d 323, 326 (S.D.N.Y. 2003) (ordering 15% reduction).

         Accordingly, Small’s final approved attorneys’ fee award is $862,395.30 as follows:

      Name              Position        Hourly Rate       Hours Billed          Total

 Shoemaker           Partner           $295              1,670.6           $492,827

 Nadir               Associate         $250              1,317.6           $329,400



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 Hance             Paralegal         $100               1,180.1           $118,010

 Cross             Paralegal         $100               130.4             $13,040

 Coleman           Paralegal         $100               49.4              $4,940

                                                          Billed Fees        $958,217

                                                        10% reduction       ($95,821.70)

                                                        Approved Fees       $862,395.30



       2. Small is entitled to costs in the amount of $100,448.72.

       The party seeking to recover costs bears the burden of adequately documenting

and itemizing the costs requested. Baker v. Power Sec. Corp., 174 F.R.D. 292, 294-95

(W.D.N.Y. 1997) (“The burden is therefore upon the party seeking costs to provide

adequate documentation of its costs, and a failure to do so may result in the costs being

reduced or denied.”). A party is not entitled to recover costs when its application fails to

provide substantiation for the costs sought. See Mendez v. Radec Corp., 907 F. Supp.

2d 353, 360 (W.D.N.Y. 2012) (denying costs that were “not adequately explained through

Plaintiffs’ submission”); Douyon v. N.Y. Med. Health Care, P.C., 49 F. Supp. 3d 328, 352

(E.D.N.Y. 2014) (“[W]ith this record, the Court has no way of confirming that these costs

. . . were incurred by counsel.”); Joe Hand Promotions, Inc. v. Elmore, No. 11–cv-3761,

2013 WL 2352855, at *12 (E.D.N.Y. May 12, 2013) (declining to award costs due to an

absence of documentation).

       Here, Small seeks reimbursement of her costs in the amount of $100,448.72,

including expert fees and legal research, and she has submitted a detailed invoice in

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support. (Invoice of Costs, Docket No. 201-3, pp. 30-49.) Defendants do not oppose this

request. Small’s application for costs is therefore approved.


        3. Small is entitled to pre- and post-judgment interest on the judgment.


        Small seeks pre-judgment interest on her Title VII compensatory damages and

Title VII and New York Human Rights Law back pay awards compounded annually at the

applicable New York State rate. Small further seeks post-judgment interest on her entire

award, including attorneys’ fees and costs. Defendants do not meaningfully oppose these

requests.11

        Small first seeks pre-judgment interest on her Title VII compensatory damages

award. “Under Title VII, in its discretion, a court may award pre-judgment interest on

awards of compensatory damages for pain and suffering and emotional distress.”

Lamberson v. Six W. Retail Acquisition, Inc., No. 98 CIV. 8052(DC), 2002 WL 207016, at

*1 (S.D.N.Y. Feb. 11, 2002). Whether to award pre-judgment interest is informed by “(i)

the need to fully compensate the wronged party for actual damages suffered, (ii)

considerations of fairness and the relative equities of the award, (iii) the remedial purpose

of the statute involved, and/or (iv) such other general principles as are deemed relevant

by the court.” Wickham Contracting Co. v. Local Union No. 3, 955 F.2d 831, 833-34 (2d




11 Defendants’ only opposition to Small’s requests for pre- and post-judgment interest is this throw-away
line in the conclusion of their memorandum of law: “. . . and to the extent that damages are in the form of
equitable relief, the plaintiff is not entitled to pre-judgment interest.” (Memorandum of Law, Docket No. 215,
p. 9.) Defendants cite 28 U.S.C. § 1961 (a) immediately after this statement. See id. Nothing in § 1961
(a), however, addresses equitable relief. This Court therefore deems Small’s requests for pre- and post-
judgment interest to be effectively unopposed.

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Cir. 1992). Given the size of the recovery in this case, this Court finds that Small has

been fully compensated. Pre-judgment interest is therefore not required to make Small

whole and will be denied. See Lamberson, 2002 WL 207016, at *1 (denying pre-judgment

interest where not necessary to fully compensate the plaintiff or make her whole).

      Small also seeks pre-judgment interest on her back-pay awards.            “Title VII

authorizes a district court to grant pre-judgment interest on a back pay award.” Saulpaugh

v. Monroe Cmty. Hosp., 4 F.3d 134, 145 (2d Cir. 1993). “Pre-judgment interest on back

pay awards is an element of complete compensation.” Joseph v. HDMJ Rest., Inc., 970

F. Supp. 2d 131, 151 (E.D.N.Y. 2013) (citing Loeffler v. Frank, 486 U.S. 549, 558, 108 S.

Ct. 1965, 100 L. Ed. 2d 549 (1988)). It also discourages employers from delaying back

pay payments. See id. at 151. As such, failing to award pre-judgment interest on back

pay is ordinarily an abuse of discretion. See Clark v. Frank, 960 F.2d 1146, 1154 (2d Cir.

1992); Syrnik v. Polones Const. Corp., No. 11 Civ. 7754, 2012 WL 4122801, at *4

(S.D.N.Y. Sept. 29, 2012).

      For federal claims under Title VII, courts award pre-judgment interest on back pay

at the federal rate, see 28 U.S.C. § 1961 (a), compounded annually from the date the

claim arises through the date of judgment. See Holness v. Nat’l Mobile Television, Inc.,

No. 09 CV 2601, 2012 WL 1744847, at *7 (E.D.N.Y. Feb. 14, 2012); Joseph, 970 F. Supp.

at 151 (“the award of pre-judgment interest should be calculated from the time the claim

arises through the date of judgment”); Poliard v. Saintilus Day Care Ctr., No. 11 CV 5174,

2013 WL 1346238, at *5 (E.D.N.Y. Mar. 7, 2013) (applying interest compounded annually

to back pay award). The court applies “the federal interest rate based on the average

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rate of return on one-year Treasury bills for the relevant time period between the time the

claim arises until the entry of judgment pursuant to 28 U.S.C. § 1961 (a).” Levy v. Powell,

No. 00-cv-4499 (SJF), 2005 WL 1719972, at *3 (E.D.N.Y. July 22, 2005). Pre-judgment

interest is thus calculated as follows:

                   First, the [back pay] award[ ] should be divided pro rata over
                   the appropriate time period. Second, once the award is
                   divided, the average annual United States treasury bill rate of
                   interest referred to in 28 U.S.C. § 1961 will be applied. Third
                   and finally, in order to guarantee complete compensation to
                   the plaintiff, the interest will be compounded annually.

Id. (alterations in original; citation and quotation marks omitted).

          Here, the Title VII back pay award is $370,000. The relevant time period is January

30, 2011 (day after termination) to October 11, 2018 (date of judgment).12 The average

rate of return on one-year Treasury bills for this time period is .63%.13 Applying the

formula above, this Court finds that Small is entitled to $18,250.79 in pre-judgment

interest on her federal back pay award.

          The same method of calculation applies for Small’s state law back pay award, but

pre-judgment interest is calculated at 9% under New York CPLR § 5004. See Marfia v.

T.C. Ziraat Bankasi, 147 F.3d 83, 90 (2d Cir. 1998) (“federal law does not apply to the

calculation of prejudgment interest on supplemental state law claims”). Applying the

same formula above using the New York interest rate, this Court finds that Small is entitled

to $346,371.35 in pre-judgment interest on her state back pay award.


12   For ease of calculation, this Court has rounded this time frame to 92 months.

13Calculated at https://www.federalreserve.gov/datadownload/Choose.aspx?rel=H.15 (last visited April 4,
2019).
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       Finally, Small seeks post-judgment interest on her entire award, including

attorneys’ fees and costs. By statute, “[i]nterest shall be allowed on any money judgment

in a civil case recovered in a district court.” 28 U.S.C. § 1961 (a). Accordingly, this Court

will grant post-judgment interest on the award reflected in the amended judgment under

28 U.S.C. § 1961 (a) running from October 11, 2018, the date of the original judgment.

See Greenway v. Buffalo Hilton Hotel, 143 F.3d 47, 55 (2d Cir. 1998).

                                     IV. CONCLUSION

       The jury determine that Defendants unlawfully subjected Pamela Small to

discrimination and a hostile work environment and then retaliated against her when she

complained about it.     For the reasons stated above, the jury’s determinations are

supported by the evidence adduced at trial, and Defendants have failed to show that they

are entitled to judgment as a matter of law or a new trial. Defendant Cuer, however, has

demonstrated that the jury’s $3.85 million compensatory damages award against him

requires remittitur to $2.88 million, for the reasons stated herein. Finally, Small is entitled

to recover $862,395.30 in reasonable attorneys’ fees, $364,622.14 in pre-judgment

interest, and $100,448.72 in costs. Post-judgment interest under 28 U.S.C. § 1961 (a)

will run on the entire award from October 11, 2018, the date of the original judgment.

                                        V. ORDERS

       IT HEREBY IS ORDERED, that Defendants’ post-trial motions (Docket Nos. 204,

206) are GRANTED in part and DENIED in part, consistent with this Decision and Order.

       FURTHER, that a new trial on damages against Defendant Carl Cuer will be

scheduled by separate order if Plaintiff does not accept this Court’s remittitur of

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compensatory damages against Defendant Cuer from $3.85 million to $2.88 million.

Plaintiff must file an affidavit within 10 days of the entry date of this Decision and Order

advising whether she will accept the remittitur.

       FURTHER, Plaintiff’s Motion for Attorneys’ Fees, Interest, and Costs (Docket No.

202) is GRANTED in part and DENIED in part, consistent with this Decision and Order.

Defendants must pay Plaintiff $862,395.30 in attorneys’ fees, $364,622.14 in pre-

judgment interest, and $100,448.72 in costs, consistent with this Decision and Order.

       FURTHER, that the Clerk of Court is directed to file an amended judgment against

Defendants New York State Department of Corrections and Community Supervision,

Sandra Dolce, and James Conway as follows:

              IT IS ORDERED AND ADJUDGED: that judgment is entered
              in Plaintiff’s favor against Defendant New York State
              Department of Corrections and Community Supervision on
              Claims 1 and 2 in the amount of $2,488,250.79.

              FURTHER, that judgment is entered in Plaintiff’s favor against
              Defendant Sandra Dolce on Claim 3 in the amount of
              $480,000.

              FURTHER, that judgment is entered in Plaintiff’s favor against
              Defendant James Conway on Claim 3 in the amount of
              $240,000.

              FURTHER, that judgment is entered in Plaintiff’s favor against
              Defendants New York State Department of Corrections and
              Community Supervision, Sandra Dolce, and James Conway
              in the amount of $862,395.30 for attorneys’ fees.

              FURTHER, that judgment is entered in Plaintiff’s favor against
              Defendants New York State Department of Corrections and
              Community Supervision, Sandra Dolce, and James Conway
              in the amount of $100,448.72 for costs.


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              FURTHER, that post-judgment interest under 28 U.S.C. §
              1961 (a) will run from October 11, 2018.

       FURTHER, that the amended judgment may be amended further to include

Defendant Cuer once Plaintiff notifies this Court of her remittitur decision.

       SO ORDERED.



Dated: April 14, 2019
       Buffalo, New York

                                                  /s/William M. Skretny
                                                 WILLIAM M. SKRETNY
                                               United States District Judge




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